






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00507-CR


NO. 03-06-00509-CR





					

Stephen Walker, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NOS. 2034392 &amp; D-1-DC-2005-300274, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M   OP I N I O N



On August 7, 2006, the district court revoked Stephen Walker's community
supervision and imposed sentence in four causes: the two referenced above and in numbers
3030475 and D-1-DC-2005-300438.  Walker's counsel filed notices of appeal in the two latter
causes. (1)  The district clerk prepared records in all four causes and forwarded them to this Court.

The clerk's records in the two causes at issue do not contain notices of appeal and
we are informed by the district clerk that none were filed.  A timely filed written notice of appeal&nbsp;is
&nbsp;												

essential to invoke the jurisdiction of this Court.  Tex. R. App. P. 25.2(b), (c).  Under the
circumstances, we lack jurisdiction to dispose of the purported appeals in any manner other than
by dismissing them for want of jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim.
App.1998); Olivo v. State, 918 S.W.2d 519, 522-23 (Tex. Crim. App. 1996).

		The appeals are dismissed.



						__________________________________________

						Bob Pemberton, Justice

Before Justices B. A. Smith, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   November 10, 2006

Do Not Publish
1.        Each notice of appeal bore only the number of the cause in which it was filed and made no
reference to any other cause.  These appeals were filed as our cause numbers 03-06-00508-CR and
03-06-00510-CR and remain on the Court's docket. 


